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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

VIXICOM, LLC,

      Plaintiff,

v.                                                       Case No: 8:16-cv-703-T-35JSS

FOUR CORNERS DIRECT, INC.,

      Defendant.
                                         /


                                         ORDER

      THIS CAUSE comes before the Court for consideration of the Motion to Require

Completion of Florida Rule of Civil Procedure 1.977 Fact Information Sheet (Dkt. 3) filed

by Vixicom, LLC (“Vixicom”). On March 21, 2016, Vixicom initiated this action against

Four Corners Direct, Inc. (“Four Corners”) to confirm an arbitration award pursuant to the

Federal Arbitration Act (“FAA”), 9 U.S.C. § 1, et seq. (Dkt. 1) On June 30, 2016, the

Court granted Vixicom’s Motion for Default Judgment and directed the Clerk to enter final

judgment in favor of Vixicom and against Four Corners confirming the subject arbitration

award. (Dkt. 10) The Clerk entered final judgment in favor of Vixicom and against Four

Corners on July 1, 2016. (Dkt. 11)

      In the instant Motion, Vixicom requests that the Court enter an order directing Four

Corners to complete the Florida Rule of Civil Procedure Form 1.977 in aid of execution of

the judgment. (Dkt. 3)    Four Corners has failed to appear in this action or otherwise

respond to Vixicom’s Motion; therefore, the Court considers the Motion unopposed.

Pursuant to Federal Rule of Civil Procedure 69(a)(2): “In aid of the judgment or execution,

the judgment creditor or a successor in interest whose interest appears of record may
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obtain discovery from any person—including the judgment debtor—as provided in these

rules or by procedure of the state where the court is located.” Florida Rule of Civil

Procedure 1.560(c) provides that, if a prevailing party so requests, the judge shall require

the judgment debtor to complete the Florida Rule of Civil Procedure Form 1.977 Fact

Information Sheet within forty-five (45) days from the date of the final judgment.

       Accordingly, it is hereby ORDERED that Four Corners shall complete the Florida

Rule of Civil Procedure Form 1.977 Fact Information Sheet and provide the completed

form and any attachments to Vixicom on or before August 15, 2016.

       DONE and ORDERED in Tampa, Florida, this 6th day of July, 2016.



Copies furnished to:
Counsel of Record
Any Unrepresented Person




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